 Case 2:22-cv-02004-JAK Document 92 Filed 04/09/24 Page 1 of 5 Page ID #:34193




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11   Attorneys for Bombardier Aerospace Corporation,
12   Bombardier Inc., and Learjet, Inc.

13                     UNITED STATES DISTRICT COURT
14                FOR THE CENTRAL DISTRICT OF CALIFORNIA

15   In re:                                     Case No. 2:22-cv-6637-JAK
16   ZETTA JET USA, INC., a California          Case No. 2:22-cv-2004-JAK
     corporation,
17                                              On Appeal to the U.S. District Court
                 Debtor.
18                                              from the U.S. Bankruptcy Court,
     In re:                                     Central District of California
19                                              Bankruptcy Case No. 2:17-bk-21386-
     ZETTA JET PTE, LTD., a Singaporean
20   corporation,                               SK and Adversary Case Nos. 2:19-ap-
                 Debtor.                        01382-SK, 2:19-ap-01147-SK
21
22   JONATHAN D. KING, solely in his capacity BOMBARDIER AEROSPACE
     as Chapter 7 Trustee of Zetta Jet USA, Inc. CORPORATION, BOMBARDIER
23   and Zetta Jet PTE, Ltd.,
                                                 INC., AND LEARJET, INC.’S
24                Plaintiff,                     APPLICATION FOR LEAVE TO
        v.                                       FILE UNDER SEAL PROPOSED
25                                               REDACTIONS TO THE
26   JETCRAFT CORPORATION, JETCRAFT COURT’S MARCH 26, 2024
     GLOBAL, INC., JETCOAST 5000-5 LLC,          MINUTES ORDER
27   ORION AIRCRAFT HOLDINGS LTD.,
     JETCRAFT ASIA LIMITED, FK GROUP
28   LTD, FK PARTNERS LIMITED, JAHID
     FAZAL-KARIM, BOMBARDIER
 Case 2:22-cv-02004-JAK Document 92 Filed 04/09/24 Page 2 of 5 Page ID #:34194




1    AEROSPACE CORPORATION,
     BOMBARDIER, INC., and LEARJET, INC.,
2
                   Defendants.
3
     JONATHAN D. KING, solely in his capacity
4    as Chapter 7 Trustee of Zetta Jet USA, Inc.
     and Zetta Jet PTE, Ltd.,
5
                   Plaintiff,
6
        v.
7
     CAVIC AVIATION LEASING (IRELAND)
8    22 CO. DESIGNATED ACTIVITY
     COMPANY and BOMBARDIER
9    AEROSPACE CORPORATION,
10                 Defendants.
11
12                         APPLICATION TO SEAL DOCUMENTS
13                                       (L.R. 79-5.2.2)
14           Pursuant to Local Rule 79-5.2.2 and the Court’s March 26, 2024 Minutes Order
15   (“March 26 Order”), Appellees Bombardier Aerospace Corporation (“BAC”),
16   Bombardier Inc. (“BI”) and Learjet, Inc. (“LI,” together with BAC and BI,
17   “Bombardier”) hereby submit, and seek leave to file under seal, the parties’ proposed
18   redactions to the March 26 Order.
19           The March 26 Order was issued under seal and directed the parties to jointly
20   submit any proposed redactions, with a corresponding declaration from a percipient
21   witness as to why the information should not be available on the public docket.
22   Accordingly, pursuant to the Court’s order, Bombardier seeks leave to file the following
23   documents under seal, which are attached to the Declaration of Andrew M. Troop as
24   follows:
25       Exhibit A: ORDER RE BANKRUPTCY APPEALS (21-7572 DKT. 1; 22-2004
26           DKT. 1; AND 22-6637 DKT. 1) – REDACTION BOXES UNAPPLIED;
27       Exhibit B: ORDER RE BANKRUPTCY APPEALS (21-7572 DKT. 1; 22-2004
28           DKT. 1; AND 22-6637 DKT. 1) – REDACTION BOXES APPLIED.


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 Case 2:22-cv-02004-JAK Document 92 Filed 04/09/24 Page 3 of 5 Page ID #:34195




1          The declarations ordered by the Court are being filed publicly and are attached
2    to the Declaration of Andrew M. Troop as follows:
3         Exhibit C: DECLARATION OF MERCEDES GLOCKSEISEN IN SUPPORT
4          OF BOMBARDIER’S REQUEST TO FILE UNDER SEAL THE COURT’S
5          MARCH 26, 2024 MINUTES ORDER;
6         Exhibit D: DECLARATION OF PETER ANTONENKO IN SUPPORT OF
7          REDACTION        OF    MARCH       26,   2024    APPEAL      DECISION       AND
8          DECLARATION OF JAHID FAZAL-KARIM IN SUPPORT OF REDACTION
9          OF MARCH 26, 2024 APPEAL DECISION.
10         The March 26 Order contains information that the Bankruptcy Court previously
11   ordered to be sealed. See 6637 Dkt. Nos. 253, 262, 286, 328, 329, 357, and 398; see
12   also 2004 Dkt. Nos. 126, 163, and 333.1 Each proposed redaction corresponds to the
13   language or information that the Bankruptcy Court previously ordered sealed. The
14   Trustee, 2004 Defendants, and 7572 Defendants have no objection to the joint proposed
15   redactions.
16         The Jetcraft and FK defendants (Jetcraft Corporation; Jetcraft Global, Inc.;
17   Jetcoast 5000-5 LLC; Orion Aircraft Holdings Ltd.; Jetcraft Asia Limited; FK Group
18   Ltd; FK Partners Limited; and Jahid Fazal-Karim), non-parties to this appeal that were
19   parties in one of the underlying adversary proceedings (King v. Jetcraft Corporation, et
20   al., Adv. Proc. No. 2:19-ap-01382-SK), are also required to comply with the
21   Bankruptcy Court’s sealing orders.      With the consent of all parties, Bombardier
22   obtained redactions from the Jetcraft and FK defendants, which have been incorporated
23   into the joint proposed redactions, and supporting declarations from Mr. Antonenko and
24   Mr. Fazal-Karim. The proposed redactions from the Jetcraft and FK defendants also
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28   1
      All capitalized terms not defined herein have their meaning as set forth in the March
     26 Order.
                                                2
 Case 2:22-cv-02004-JAK Document 92 Filed 04/09/24 Page 4 of 5 Page ID #:34196




1    correspond to the language or information that the Bankruptcy Court previously ordered
2    sealed.
3          The Trustee has stated he takes no position on whether the redaction of
4    information in the sealed order, or that is subject to the bankruptcy protective orders, is
5    appropriate or not. For his part, the Trustee believes that none of the information is
6    confidential. The Trustee reserves the right to challenge or consensually modify any
7    such designation in subsequent proceedings if such designation prejudices the estates
8    or the Trustee’s rights. In particular, the Trustee has stated he may need to share
9    information subject to protective orders and the sealed order with litigation funders and
10   other relevant parties and, if so, may seek to modify protective orders and the sealing
11   order at the appropriate time to allow for dissemination of this information subject to
12   confidentiality restrictions. Finally, the Trustee notes that the Office of the United
13   States Trustee has not been copied on any of the emails between counsel to the parties
14   and may have a different view regarding the propriety of sealing information in the
15   opinion that may affect members of the public including financial communities and
16   other public stakeholder groups.
17         “[C]ourts of this country recognize a general right to inspect and copy public
18   records and documents, including judicial records and documents.” Nixon v. Warner
19   Commc'ns, Inc., 435 U.S. 589, 597 (1978) (footnotes omitted). “The common law right
20   of access, however, is not absolute and can be overridden given sufficiently compelling
21   reasons for doing so.” Foltz v. State Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1135
22   (9th Cir. 2003). Accord Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178
23   (9th Cir. 2006). “Protective orders and filings under seal are the primary means by
24   which the courts ensure full disclosure of relevant information, while still preserving
25   the parties’ (and third parties’) legitimate expectation that confidential business
26   information, proprietary technology and trade secrets will not be publicly
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 Case 2:22-cv-02004-JAK Document 92 Filed 04/09/24 Page 5 of 5 Page ID #:34197




1    disseminated.” In re Adobe Sys., Inc. Sec. Litig., 141 F.R.D. 155, 161-62 (N.D. Cal.
2    1992) (citing cases).
3          There is good cause and a compelling need to file the proposed redactions under
4    seal. In the underlying adversary cases, the Bankruptcy Court entered orders requiring
5    that certain information be filed under seal. The proposed redactions are in accordance
6    with the Bankruptcy Court’s sealing orders. Further, as set forth in the declarations of
7    Bombardier and Jetcraft’s percipient witnesses, the information proposed to be redacted
8    should not be available on the public docket because it is highly confidential. Finally,
9    pursuant to this Court’s March 26 Order, only after the Court’s review of the parties’
10   joint submissions, shall a redacted version of the March 26 Order be made available on
11   the public docket.
12         For the foregoing reasons, Bombardier respectfully requests an order of this
13   Court permitting Bombardier to file under seal the documents identified as Exhibits A
14   and B.
15
16   DATED: April 9, 2024                   PILLSBURY WINTHROP SHAW
                                            PITTMAN LLP
17
18                                          By: /s/ Andrew M. Troop
                                            ERIC FISHMAN (Pro Hac Vice)
19
                                            ANDREW M. TROOP (Pro Hac Vice)
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